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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

                                                   :
Marilyn Bermudez,                                  :
                                                     Civil Action No.: 1:11-cv-10201 (RGS)
                                                   :
                        Plaintiff,                 :
        v.                                         :
                                                   :
Diversified Consultants, Inc.; and                 :
                                                     FIRST AMENDED COMPLAINT
DOES 1-10, inclusive,                              :
                                                   :
                        Defendants.                :
                                                   :



                For this Complaint, the Plaintiff, Marilyn Bermudez, by undersigned counsel,

states as follows:


                                         JURISDICTION

        1.      This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of Plaintiff’s

personal privacy by the Defendants and its agents in their illegal efforts to collect a consumer

debt.

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.


                                             PARTIES

        4.      The Plaintiff, Marilyn Bermudez (“Plaintiff”), is an adult individual residing in

Springfield, Massachusetts, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).
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       5.      Defendant Diversified Consultants, Inc. (“Diversified”), is a Florida business

entity with an address of 10550 Deerwood Park Boulevard, Suite 309, Jacksonville, Florida,

32256, operating as a collection agency, and is a “debt collector” as the term is defined by 15

U.S.C. § 1692a(6).

       6.      Does 1-10 (the “Collectors”) are individual collectors employed by Diversified

and whose identities are currently unknown to the Plaintiff. One or more of the Collectors may

be joined as parties once their identities are disclosed through discovery.

       7.      Diversified at all times acted by and through one or more of the Collectors.


                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt


       8.      The Plaintiff incurred a financial obligation (the “Debt”) to T-Mobile (the

“Creditor”).

       9.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under

15 U.S.C. § 1692a(5).

       10.     The Debt was purchased, assigned or transferred to Diversified for collection, or

Diversified was employed by the Creditor to collect the Debt.

       11.     The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).


   B. Diversified Engages in Harassment and Abusive Tactics

       12.     Due to financial hardship Plaintiff suspended her service with T-Mobile and

failed to pay a cancellation fee. In January, 2011 Plaintiff contacted T-Mobile and informed T-


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Mobile that she wanted to re-open her account. T-Mobile advised Plaintiff to contact Diversified,

who was handling her delinquency.

        13.     Plaintiff called Diversified and spoke to a “Julio Rodriguez”. Mr. Rodriguez

stated that if the Plaintiff paid $ 330.00 the Debt would be settled and T-Mobile would renew her

service.

        14.     Plaintiff gave Mr. Rodriguez her bank account number and authorized Defendants

to withdraw $ 330.00 in two increments.

        15.     After the money was withdrawn Plaintiff contacted T-Mobile and inquired if she

could resume her cellular phone service.

        16.     T-Mobile informed Plaintiff that the Debt was not paid and she owed an

additional $ 900.00.

        17.     Plaintiff called Defendants and was told that Mr. Rodriguez misinformed her and

she still owed some money.

        18.     Defendants said they would continue to withdraw money from Plaintiff’s bank

account.

        19.     The Defendants also used extremely abusive language when speaking with the

Plaintiff.

        20.     When the Plaintiff objected, Defendants’ representative responded, “Don’t

interrupt me you fucking bitch!”


    C. Plaintiff Suffered Actual Damages


        21.     The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendants’ unlawful conduct.



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       22.     As a direct consequence of the Defendants’ acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.

       23.     The Defendants’ conduct was so outrageous in character, and so extreme in

degree, as to go beyond all possible bounds of decency, and to be regarded as atrocious, and

utterly intolerable in a civilized community.


                                   COUNT I
                  VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

       24.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       25.     The Defendants’ conduct violated 15 U.S.C. § 1692d(2) in that Defendants used

profane and abusive language when speaking with the consumer.

       26.     The Defendants’ conduct violated 15 U.S.C. § 1692e(2) in that Defendants

misrepresented the character, amount and legal status of the Debt.

       27.     The Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that Defendants

employed false and deceptive means to collect a debt.

       28.     The foregoing acts and omissions of the Defendants constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

       29.     The Plaintiff is entitled to damages as a result of Defendants’ violations.


                              COUNT II
     VIOLATION OF THE MASSACHUSETTS CONSUMER PROTECTION ACT,
                        M.G.L. c. 93A § 2, et seq.

       30.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.


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       31.      The Defendants employed unfair or deceptive acts to collect the Debt, in

violation of M.G.L. c. 93A § 2.

       32.      Defendant’s failure to comply with these provisions constitutes an unfair or

deceptive act under M.G.L. c. 93A § 9 and, as such, the Plaintiff is entitled to double or treble

damages plus reasonable attorney’s fees.


                                 COUNT IV
               INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

       33.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully set forth herein at length.

       34.     The acts, practices and conduct engaged in by the Defendants vis-à-vis the

Plaintiff was so outrageous in character, and so extreme in degree, as to go beyond all possible

bounds of decency, and to be regarded as atrocious, and utterly intolerable in a civilized

community.

       35.     The foregoing conduct constitutes the tort of intentional infliction of emotional

distress under the laws of the State of Massachusetts.

       36.     All acts of Defendants and the Collectors complained of herein were committed

with malice, intent, wantonness, and recklessness, and as such, Defendants are subject to

imposition of punitive damages.



                                    PRAYER FOR RELIEF

               WHEREFORE, the Plaintiff prays that judgment be entered against Defendants:


                   1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against Defendants;




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                 2. Statutory damages of $1,000.00 for each violation pursuant to 15 U.S.C.

                     §1692k(a)(2)(A) against Defendants;

                 3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                     § 1692k(a)(3) against Defendants;

                 4. Double or treble damages plus reasonable attorney’s fees pursuant to M.G.L.

                     c. 93A § 3(A);

                 5. Actual damages from Defendants for the all damages including emotional

                     distress suffered as a result of the intentional, reckless, and/or negligent

                     FDCPA violations and intentional, reckless, and/or negligent invasions of

                     privacy in an amount to be determined at trial for the Plaintiff;

                 6. Punitive damages; and

                 7. Such other and further relief as may be just and proper.


                       TRIAL BY JURY DEMANDED ON ALL COUNTS



Dated: February 16, 2011

                                             Respectfully submitted,

                                             By /s/ Sergei Lemberg

                                             Sergei Lemberg (BBO# 650671)
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                                CERTIFICATE OF SERVICE

      I hereby certify that on February 16, 2011, a true and correct copy of the foregoing First
Amended Complaint was served electronically by the U.S. District Court for the District of
Massachusetts Electronic Document Filing System (ECF) and that the document is available on
the ECF system.

                                             By_/s/ Sergei Lemberg_________
                                                    Sergei Lemberg
